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              EXHIBIT 30
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                                    CIA: There is 'no evidence'        15-36
                                                                that China        FiledTikTok
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                                                                    S&P           NASDAQ
                                               DOW                  500           100
                                                +0.35%              +0.8%         +1.26%


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     CIA analysts reportedly told the White House
     there's 'no evidence' the Chinese government
     has accessed TikTok data
     Katie Canales¬ Aug 7, 2020, 3:27 PM




     US President Donald Trump speaks after touring the Whirlpool Corporation
     Manufacturing Plant in Clyde, Ohio, on August 6, 2020.¬ JIM WATSON/AFP via Getty
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         CIA analysts told the White House that though it is possible
         for the Chinese government to access TikTok user data, there
         is "no evidence" that it has done so, per a New York Times
         report.


         However, President Trump still moved forward with an
         executive order Thursday night prohibiting US companies from
         doing business with not only TikTok's parent company
         ByteDance but also WeChat, a popular app for Chinese
         citizens.


         The executive order goes into effect on Sept. 20 and is the
         latest development in a web of US-led efforts to distance
         Chinese tech firms over national security concerns.


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  A recent report from the CIA indicates that the Chinese government has not
  accessed American user data from the video-sharing app TikTok.


  According to The New York Times, CIA analysts told the White House that though
  it is possible for Chinese officials to obtain data from users of the app — which is
  owned by the Beijing-based ByteDance — there is "no evidence" that the Eastern
  nation has done so.


  However, President Trump still moved forward with an executive order late
  Thursdaybarring US companies from "any transactions" with TikTok's parent
  company, ByteDance. The order argues TikTok "continues to threaten the
  national security, foreign policy, and economy of the United States" and will go
  into effect on Sept. 20.


  The CIA assessment is the latest development in a long series of efforts made by
  American officials to distance Chinese tech firms from US users over national
  security concerns. Lawmakers are uneasy about the Chinese government possibly
  accessing American user data through apps such as TikTok.




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  Secretary of State Mike Pompeo has unveiled a US plan to crack down on Chinese
  apps and services. Dubbed the "Clean Network," the program would block
  "untrusted" Chinese apps from app stores. However, experts have found that
  TikTok collects data similarly to how US firms, such as Facebook, do so.


  Relations between the US and China have grown increasingly strained as a result,
  a tension that is exacerbated in part by the coronavirus pandemic, for which
  President Trump blames China.




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